                                                    Case 3:21-cv-02560-LB Document 177 Filed 09/28/23 Page 1 of 3




                                              1
                                                  Timothy M. Ryan, Bar No. 178059
                                                  Michael W. Stoltzman Jr., Bar No. 263423
                                              2   THE RYAN FIRM
                                                  A Professional Corporation
                                              3
                                                  2603 Main Street, Suite 1225
                                              4   Irvine, CA 92614
                                                  Telephone (949) 263-1800; Fax (949) 872-2211
                                              5
                                              6   Attorneys for Defendant Seterus, Inc.
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                                              9                          UNITED STATES DISTRICT COURT
                                             10                       NORTHERN DISTRICT OF CALIFORNIA
                                             11
                                             12
                A Professional Corporation




                                                   TIMOTHY S. BOSTWICK, an                        )       CASE NO.: 3:21-cv-02560-LB
THE RYAN FIRM




                                             13
                                                   individual; and MICHELE L.                     )       Date Action Filed: April 8, 2021
                                             14    NESSIER, an individual;                        )
                                             15                                                   )       Assigned for All Purposes to
                                                                Plaintiffs,                       )       Hon. Laurel Beeler
                                             16                                                   )       Courtroom B
                                             17    vs.                                            )
                                                                                                  )       JOINDER BY DEFENDANT
                                             18    SETERUS, INC., a business entity;              )       SETERUS, INC. IN DEFENDANT SN
                                             19    US BANK, N.A., a business entity;              )       SERVICING’S MOTION IN LIMINE
                                                   SN SERVICING CORP, a business                  )       NO. 2 TO LIMIT HEARSAY
                                             20    entity; and DOES 1 through 10,                 )       TESTIMONY AND EVIDENCE
                                             21    inclusive,                                     )
                                                                                                  )       Date:         November 9, 2023
                                             22                 Defendants.                       )       Time:         1:00 p.m.
                                             23                                                   )       Dept.:        B
                                                                                                  )
                                             24                                                   )       Trial Date:   December 18, 2023.
                                             25                                                   )
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                                                                              Joinder in SN Servicing’s Motion in Limine No. 2
                                                    Case 3:21-cv-02560-LB Document 177 Filed 09/28/23 Page 2 of 3




                                              1         PLEASE TAKE NOTICE that defendant Seterus, Inc. (“Seterus” or “Defendant”)
                                              2   hereby joins in defendant SN Servicing’s Motion in Limine No. 2 to limit hearsay
                                              3   testimony and evidence.
                                              4
                                              5   DATED: September 21, 2023                            THE RYAN FIRM
                                                                                                       A Professional Corporation
                                              6
                                              7
                                                                                                       By:
                                              8                                                              TIMOTHY M. RYAN
                                                                                                             MICHAEL W. STOLTZMAN, JR.
                                              9
                                                                                                             Attorneys for Defendant Seterus, Inc.
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                A Professional Corporation
THE RYAN FIRM




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                                                                            Joinder in SN Servicing’s Motion in Limine No. 2
                                                    Case 3:21-cv-02560-LB Document 177 Filed 09/28/23 Page 3 of 3




                                              1                                   PROOF OF SERVICE
                                              2         I am over the age of eighteen years and not a party to the within action. I am
                                              3   employed by The Ryan Firm, A Professional Corporation, whose business address is:
                                                  2603 Main St, Suite 1225, Irvine, CA 92614.
                                              4
                                                         On September 21, 2023, I served the within document(s) described as: JOINDER
                                              5   BY DEFENDANT SETERUS, INC. IN DEFENDANT SN SERVICING’S MOTION
                                                  IN LIMINE NO. 2 TO LIMIT HEARSAY TESTIMONY AND EVIDENCE on the
                                              6   interested parties in this action:
                                              7         by transmitting via electronic mail the document(s) listed above to the email
                                                  addresses provided by counsel.
                                              8
                                              9          Name & Address              Telephone / Fax / E-mail               Role
                                                    Shapero Law Firm, P.C.         Tel: (415) 273-3504             Attorney for Plaintiffs
                                             10     100 Pine Street, Ste 530       Fax: (415) 358-4116             Timothy S. Bostwick
                                                    San Francisco, CA 94111        Email:                          and Michele L. Nessier
                                             11                                    sarah@shaperolawfirm.com
                                             12     Michael R. Brooks, Esq.        Tel: (702) 385-2500             Attorney for Plaintiffs
                                                                                   Fax: ***                        Timothy S. Bostwick
                A Professional Corporation




                                                    Hutchison & Steffen, PLLC
THE RYAN FIRM




                                             13     Peccole Professional Park      Email:                          and Michele L. Nessier
                                                    10080 West Alta Drive,         mbrooks@hutchlegal.com
                                             14
                                                    Suite 200
                                             15     Las Vegas, Nevada 89145
                                             16
                                                    Ghidotti Berger LLP            Tel: (949) 427-2010             Attorneys for
                                             17     Rachel Witcher                 Fax: (949) 427-2732             Defendant SN
                                                    1920 Old Tustin Ave.           Email:                          Servicing Corporation
                                             18     Santa Ana, CA 92705            rwitcher@ghidottiberger.com     and US Bank Trust
                                                                                                                   National Association
                                             19
                                                        BY ELECTRONIC SERVICE – My electronic service address is:
                                             20         rconway@theryanfirm.com. I transmitted true and correct electronic copies of the
                                                        above document(s) to the persons at the electronic mail addresses listed above and
                                             21         said transmission was completed without error.
                                             22         (Federal) I declare that I am employed in the office of a member of the bar of this
                                             23         Court at whose direction the service was made.

                                             24         Executed on September 21, 2023, at Irvine, California.
                                             25
                                             26
                                                                                                    ROSE CONWAY
                                             27
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                                                                                        Proof of Service
